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AEROTECH HOLDINGS, INC.,               §                          CLERK, U.S. DISTRICT COURT
ET AL.,                                §                           By ____   ~~   ______-
                                                                             Deputy
                                       §                  L ..
            Plaintiffs,                §
                                       §
VS.                                    §   NO. 4:09-CV-2S2-A
                                       §
ALLIANCE AEROSPACE                     §
ENGINEERING, LLC, ET AL.,              §
                                       §
            Defendants.                §



                            MEMORANDUM OPINION
                                    and
                                   ORDER

      Came on now for consideration the motion of defendants,

Alliance Aerospace Engineering, LLC ("Alliance"), JCM Engineering

Corporation ("JCM"), United Aerospace Engineering, LLC

 ( nUni ted" ), Carlo Moyano ("Moyano"), Bruce Killian (" Killian" ) ,

and Thomas Blaser ("Blaser"), to dismiss the above-captioned

action for lack of personal jurisdiction.             Having considered

defendants' motion, the response of plaintiffs, Aerotech

Holdings, Inc., and Aerotech Engineering, Inc.                (collectively,

 "Aerotech"), defendants' reply, plaintiffs' supplemental appendix

and defendants' response thereto, and the applicable authorities,

the court concludes that defendants' motion should be granted in

part and denied in part for the reasons stated herein.

                                      1.

                            Plaintiffs' Claims

      Plaintiffs bring claims against all defendants for

misappropriation of trade secrets; conversion; unfair competition
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by misappropriation and palming off; injury to business

reputation, trade name, or mark; trade dress infringement; civil

conspiracy; and tortious interference with existing and potential

business relations.               Plaintiffs also bring a claim of breach of

fiduciary duty and duty of loyalty against defendants Killian and

Blaser, and claims of fraud and negligent misrepresentation

against Killian.             Defendants seemingly argue that plaintiffs'

claims relate to two different groups of forum contacts, and have

categorized plaintiffs' claims as either "confidential

information claims" or "infringement claims."                                The court adopts

these categories for convenience.

                                                  II.

      Applicable Burdens of Pleading and Proof Legal Standards

        When a nonresident defendant presents a motion to dismiss

for lack of personal jurisdiction, the plaintiff bears the burden

of establishing that in personam jurisdiction exists.                                     Wilson v.

Belin, 20 F.3d 644, 648 (5th Cir. 1994); Stuart v. Spademan, 772

F.2d 1185, 1192 (5th Cir. 1985); D.J. Invs., Inc. v. Metzeler

Motorcycle Tire Agent Gregg, Inc., 754 F.2d 542, 545-46 (5th Cir.

1985).       The plaintiff need not, however, establish personal

jurisdiction by a preponderance of the evidence; at this stage, 1

prima facie evidence of personal jurisdiction is sufficient.

WNS, Inc. v. Farrow, 884 F.2d 200, 203                          (5th Cir. 1989); Wyatt v.

Kaplan, 686 F.2d 276, 280 (5th Cir. 1982).                              The court may resolve


      1 Eventually, plaintiff must prove by a preponderance of the evidence that jurisdiction exists. See

DeMelo v. Toche Marine, Inc., 711 F.2d 1260, 1271 n.12 (5th Cir. 1983).

                                                   2
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a jurisdictional issue by reviewing pleadings, affidavits,

interrogatories, depositions, oral testimony, exhibits, any part

of the record, and any combination thereof.                                  Command-Aire Corp.

v. Ontario Mech. Sales & Serv., Inc., 963 F.2d 90, 95 (5th Cir.

1992).       Allegations of the plaintiff's complaint are taken as

true except to the extent that they are contradicted by

defendant's affidavits.                    Wyatt, 686 F.2d at 282-83 n.13                       (citing

Black v. Acme Markets, Inc., 564 F.2d 681, 683 n.3 (5th Cir.

1977)).        The court resolves any conflicts in the evidence, and

all reasonable inferences therefrom, in favor of the plaintiff.

Flech v. Transportes Lar-Mex SA DE CV, 92 F.3d 320, 327 (5th Cir.
1996) .2

        Personal jurisdiction over a nonresident defendant may be

exercised if (1) the nonresident defendant is amenable to service

of process under the law of a forum state, and (2) the exercise

of jurisdiction under state law comports with the due process

clause of the Fifth Amendment. 3                          Wilson, 20 F.3d at 646-47;

Thompson v. Chrysler Motors Corp., 755 F.2d 1162, 1166 (5th Cir.



        2The court disapproves of the technique employed by both parties in their filings of making
assertions supposedly supported by the record when in fact, the record contains no such support. The court
admonishes both parties that continuation of this practice may result in sanctions as contemplated by Rule
11 of the Federal Rules of Civil Procedure.

         3The same minimum contacts test applies under both the Fifth and Fourteenth Amendments where
there is no federal statute authorizing nationwide service of process. Point Landing, Inc. v. Omni Capital
Int'I, Ltd., 795 F.2d 415, 427 (5th Cir. 1986), aff'd, 484 U.S. 97 (1987) ("absent specific congressional
authority, a federal district court has no personal jurisdiction over a defendant who cannot be reached by the
long-arm statute of the state in which the district court sits"); Max Daetwv1er Corp. v. R. Meyer, 762 F.2d
290,293 (3d Cir. 1985); Whistler Corp. v. Solar Elec., Inc., 684 F. Supp. 1126, 1128-29 (D. Mass. 1988).
Accordingly, the court cites to Fourteenth Amendment cases herein as appropriate.

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1985)     (quoting Smith v. DeWalt Prods. Corp., 743 F.2d 277, 278

 (5th Cir. 1984)).           Since the Texas long-arm statute has been

interpreted as extending to the limits of due process, 4 the only

inquiry is whether the exercise of jurisdiction over the

nonresident defendant would be constitutionally permissible.

Bullion v. Gillespie, 895 F.2d 213, 216 (5th Cir. 1990) i Stuart,

772 F.2d at 1189.

        For due process to be satisfied,                   (1) the nonresident

defendant must have "minimum contacts" with the forum state

resulting from an affirmative act on the defendant's part, and

 (2) the contacts must be such that the exercise of jurisdiction

over the person of the defendant does not offend "traditional

notions of fair play and substantial justice."                             International

Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)                             (quoting

Milliken v. Meyer, 311 U.S. 457, 463                      (1940)).       Plaintiff "can

remain in court only if there is some basis for finding personal

jurisdiction over the .                  . named defendant[]."               Id.

        The minimum contacts prong of the due process requirement

can be satisfied by a finding of either "specific" or "general"

jurisdiction over the nonresident defendant.                            Bullion, 895 F.2d

at 216.       A court has specific jurisdiction over a nonresident

defendant where the plaintiff's claim "arises out of or relates

to activities that the defendant purposefully directed at the



       4See, e.g., Guardian Royal Exchange Assurance Ltd. v. English China Clays, P.L.c., 815 S.W.2d
223,226 (Tex. 1991); Schlobohm v. Schapiro, 784 S.W.2d 355,357 (Tex. 1990); Kawasaki Steel Corp. v.
Middleton, 699 S.W.2d 199,200 (Tex. 1985).

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forum state."             Mullins v. TestAmerica, Inc., 564 F.3d 386, 398

 (5th Cir. 2009).              In the Fifth Circuit, a plaintiff must show

that (1) each defendant has minimum contacts with the forum

state, and (2) the plaintiff's cause of action arises out of or

results from the defendant's forum-related contacts.                                          Nuovo

Pignone, SpA v. STORMAN ASIA M!V, 310 F.3d 374, 378 (5th Cir.

2002) .

        A defendant need not conduct an act physically in the forum

state to be subject to jurisdiction in that state.                                         See Burger

King Corp. v. Rudzewicz, 471 u.S. 462, 476 (1985).                                         Courts

utilize the "effects" test set forth in Calder v. Jones, 465 u.S.

783    (1984), to determine whether a nonresident defendant's acts

outside the forum state are such that the defendant should

"reasonably anticipate being hauled into court there."                                            465 u.S.

at 790.        As explained by the Fifth Circuit,                            "[w]hen a nonresident

defendant commits .                    . an act outside the state that causes

tortious injury within the state, that tortious conduct amounts

to sufficient minimum contacts with the state by the defendants

to constitutionally permit courts within that state, including

federal courts, to exercise personal adjudicative jurisdiction

over the tortfeasor . .                             Guidry v. u.S. Tobacco Co., 188

F.3d 619, 628 (5th Cir. 1999)                        (internal citations omitted);                       see

also Calder, 465 u.S. at 790. 5                        The effects of a tort do not



         5While Calder was a libel action, the Fifth Circuit has extended its "effects test" outside ofthe realm
oflibel claims. See Guidry v. U.S. Tobacco Co., 188 F.3d 619 (5th Cir. 1999); Allred v. Moore & Peterson,
117 F.3d 278 (5th Cir. 1997).

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replace the need for minimum contacts, but instead are to be

assessed as part of the minimum contacts analysis.                Panda

Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 869

 (5th Cir. 2001)       (quoting Allred v. Moore & Peterson, 117 F.3d

278, 286 (5th Cir. 1997)).        A plaintiff must also show conduct by

the nonresident defendant that invoked the benefits and

protections of the state or was otherwise purposefully directed

towards a state resident.        Mullins, 564 F.3d at 400.

      Alternatively, under the stream-of-commerce theory,                 "[w]here

a nonresident's contact with the forum state stems from a

product, sold or manufactured by a [nonresident] defendant, which

has caused harm in the forum state, the court has specific

jurisdiction if it finds that the defendant delivered the product

into the stream of commerce with the expectation that it would be

purchased by or used by consumers in the forum state."                 Nuovo

Pignone, SpA, 310 F.3d at 380 (quoting Bearry v. Beech Aircraft

Corp., 818 F.2d 370, 374 (5th Cir. 1987)).             The Fifth Circuit has

consistently held that "mere foreseeability or awareness" is

sufficient to confer jurisdiction "if the defendant's product

made its way into the forum state while still in the stream of

commerce."     Luv 'N Care, Ltd. v. Insta-Mix, Inc., 438 F.3d 465,

470 (5th Cir. 2006).

      The second prong of the due process analysis is whether

exercise of jurisdiction over the nonresident defendant would

comport with traditional notions of fair play and substantial

justice.     International Shoe, 326 u.S. at 316.            In determining

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whether the exercise of jurisdiction would be reasonable such

that it does not offend traditional notions of fair play and

substantial justice, the Supreme Court has instructed that courts

look to the following factors:          (1) the burden on the defendant,

 (2) the interests of the forum state,           (3) the plaintiff's

interest in obtaining relief,          (4) the interstate judicial

system's interest in obtaining the most efficient resolution of

controversies, and (5) shared interest of the several states in

furthering fundamental substantive social policies.                    Asahi Metal

Indus. Co. v. Superior Court, 480 u.S. 102, 113               (1987)     (citing

World-Wide Volkswagen Corp. v. Woodson, 444 u.S. 286, 292

 (1980)).   If the plaintiff successfully shows that the defendant

has minimum contacts with the forum state that relate to

plaintiffs' claims, the burden shifts to the defendant to show

that exercising jurisdiction would be unfair or unreasonable.

Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266, 271 (5th

Cir. 2006).

                                       III.

                                     Analysis

A.    United

      1.    Confidential Information Claims

      United has sufficient contacts with Texas that relate to

plaintiffs' confidential information claims.               Plaintiffs have

shown that United, through Blaser, uses Aerotech's pricing

information, confidential customer information, market research,

and related information to target Aerotech's customers, including

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Texas-based American Airlines and Continental Airlines. 6                                            United

has procured this confidential information through Blaser's

retention of a laptop belonging to Aerotech.                                     Plaintiffs have

shown that United has purposefully directed its conduct at Texas

by using confidential information that belongs to a Texas company

to target customers that are based in Texas.                                     See Miller Yacht

Sales, Inc. v. Smith 384 F.3d 93, 97 (3d Cir. 2004).                                           It should

be of no surprise to United that engaging in the alleged conduct

would cause injury to Aerotech in Texas.                                  In light of these

contacts, United should reasonably have anticipated being haled

into court in Texas.

        2.       Infringement Claims

        United also has minimum contacts with Texas that arise out

of plaintiffs' infringement claims.                              Plaintiffs have shown that

United sells Alliance parts bearing the extra "A" designation 7 to

Texas-based airlines and other aircraft parts companies.

Plaintiffs have also shown that United has shipped parts with the

extra "A" designation to Texas. s                          United has a continuing

obligation to sell parts with the extra "A" designation to a




         6While Blaser's declaration denies using or taking any of Aerotech's proprietary infonnation, it is
clear from his declaration that Blaser is referring only to technical infonnation pertaining to Aerotech's parts.

          7By the tenn "extra 'A' designation," the court refers to the "AAE" designation Alliance places on
its aircraft replacement parts.

         8That United shipped parts to Texas f.o.b. California is relevant, but not dispositive, to the court's
analysis. See Luv 'N Care, Ltd. v. Insta-Mix, Inc., 438 F.3d 465, 471-72 (5th Cir. 2006) ("[An] F.O.B. tenn
does not prevent a court from exercising personal jurisdiction over a non-resident defendant where other
factors ... suggest that jurisdiction is proper. ").

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Texas company in Texas, which United knows will sell the parts to

Texas-based Southwest Airlines.           These contacts clearly arise

from plaintiffs' infringement claims.

      3.    Unfair or Unreasonable

      Defendants have made no effort to show that jurisdiction

over any defendant would be unfair or unreasonable.                  See

Seiferth, 472 F.3d at 271.       The court, having considered the

factors enumerated in Asahi, finds that exercising jurisdiction

over United does not offend traditional notions of fair play and

substantial justice.       480 U.S. at 113 (citing World-Wide

Volkswagen Corp., 444 U.S. at 292).           Defendants make no argument

as to United's burden of having to litigate this dispute in

Texas, and the court finds that the remaining relevant factors

overwhelmingly favor a Texas forum.

B.    Alliance

      1.    Confidential Information Claims

      Alliance has sufficient minimum contacts with Texas that

arise out of plaintiffs' confidential information claims.

Defendants argue that plaintiffs lack jurisdiction over Alliance

with regards to their confidential information claims because

plaintiffs have not shown that the parts identified in the

declaration of Dominick DaCosta ("DaCosta") were ever sold to

Texas customers.       The court does not find this fatal to the

jurisdiction analysis.       Plaintiffs have shown that Killian formed

Alliance only three days after leaving Aerotech.              While he was

working for Aerotech, Killian was closely involved with the

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 designing of Aerotech's replacement parts and often traveled to

 Texas to work on the parts that are the subject of this action.

 The DaCosta declaration, along with plaintiffs' other evidence,

 shows that Alliance is selling parts, through United, that have

 been copied from Aerotech's confidential information, at least

 some of which was taken from Aerotech's facilities in Texas.

 Alliance aimed its conduct at Aerotech, a Texas resident, by

 copying Aerotech's designs and using information obtained from

 Aerotech's facilities in Texas.             Plaintiffs' confidential claims

 arise from these contacts.          In light of plaintiffs' evidence, it

 should have been significantly more than reasonably foreseeable

 that Alliance's alleged conduct would cause harm to Aerotech in

 Texas, and Alliance should reasonably have anticipated being

 haled into court in Texas.

        2.   Infringement Claims

        Alliance has sufficient minimum contacts with Texas that

 relate to plaintiffs' infringement claims.             Plaintiffs have shown

 that Alliance, through United, has placed parts with the extra

 "A" designation into the stream of commerce, knowing that such

 parts would end up in Texas.          See Luv 'N Care, Ltd., 438 F.3d at

 470.    Plaintiffs have shown that Alliance currently holds twenty-

 seven Parts Manufacturer Approvals with the Federal Aviation

 Administration for parts bearing the extra "A" designation.

 Alliance attended the MRO Convention in Texas and has, through

 United, sold parts with the extra "A" designation to Texas-based

 airlines and companies.

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       In addition to selling parts through United, plaintiffs have

 also shown that Alliance has contacted a Texas-based airline and

 has offered to sell the airline parts with an extra "A"

 designation that are currently provided to that airline by

 Aerotech.    Alliance, through Killian, also met with

 representatives of a Texas company multiple times in Texas and

 provided them with documents to facilitate the approval of

 Alliance's parts with Texas-based Southwest Airlines.                Alliance's

 invoices clearly show that its parts are shipped to Texas, and

 Alliance, through United, has a standing order with a Texas

 company for a monthly shipment of parts with the extra "A"

 designation to Texas.      These contacts clearly relate to

 plaintiffs' infringement claims.

       3.    Unfair or Unreasonable

       For the same reasons set forth in Part III.A.3, the court

 finds that exercising jurisdiction over Alliance does not offend

 traditional notions of fair play and substantial justice.

 C.    JCM

       The court has determined that plaintiffs have failed to show

 that JCM has sufficient minimum contacts with Texas so as to

 support specific jurisdiction.        While plaintiffs have shown that

 Killian has worked as an engineer for JCM, JCM has manufactured

 designs that have been copied from Aerotech, and JCM has

manufactured parts bearing the extra "A" designation, plaintiffs

have not shown that exercise by this court of jurisdiction over
JCM is appropriate.

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D.      Killian

         1.     Confidential Information Claims

        Killian has sufficient minimum contacts with Texas that

 relate to plaintiffs' confidential information claims.                                    While

 Killian denies retaining or using Aerotech's confidential

 information, plaintiffs have provided evidence to the contrary.

 Plaintiffs have shown that while working for Aerotech, Killian

 was in routine contact with the Texas office by telephone and e-

 mail, and he would come to the Texas facility at least two or

 three times a month. 9              Killian would often work at the facility

 in Texas developing, redesigning, and improving the parts that

 are the subject of this action.                        At least some of the

 misappropriated confidential information Killian is alleged to

 have taken from Aerotech was physically located in Texas.

         Killian formed Alliance three days after terminating his

 employment with Aerotech, and plaintiffs have shown that at least

 some of Alliance's designs are copied from Aerotech's designs.

 Viewing the evidence and all reasonable inferences therefrom in a

 light most favorable to plaintiffs, the court is satisfied that

 Killian has sufficient contacts with Texas that arise from

 plaintiffs' confidential information claims.                              The court is also

 satisfied that it is more than reasonably foreseeable that

 Killian would be haled into court in Texas for allegedly stealing



         9A defendant cannot hide behind his status as an employee for purposes of determining whether he
 has minimum contacts with the forum state. See Calder v. Jones, 465 U.S. 783, 790 (1984); Seiferth v.
 Helicopteros Atuneros, Inc., 472 F.3d 266,276-77 (5th Cir. 2006).

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 and misappropriating information from a Texas company, at least

 some of which physically carne from Texas.

       2.    Infringement Claims

       Plaintiffs have also shown that Killian has contacts with

 Texas that arise from plaintiffs' infringement claims.               Killian

 attended the MRO Convention in Texas and met with prospective

 Texas customers at the convention.          Killian met with these

 prospective customers at other locations and occasions apart from

 the Convention, and he provided them with documents to facilitate

 the approval of Alliance's parts bearing an extra "A" designation

 by their customer, Texas-based Southwest Airlines.              Killian has

 also contacted other Texas-based airlines in an effort to sell

 them additional parts bearing the extra "A" designation.                 These

 contacts relate to plaintiffs' infringement claims.

       3.    Unfair or Unreasonable

       For the same reasons set forth in Part III.A.3, the court

 finds that exercising jurisdiction over Killian does not offend

 traditional notions of fair play and substantial justice.

 E.    Blaser

       1.    Confidential Information Claims

       Blaser has sufficient minimum contacts with Texas that arise

 out of plaintiffs' confidential information claims.              While

working for Aerotech, Blaser routinely contacted Aerotech's Texas

 office by telephone and e-mail, and would visit Aerotech's Texas

 facility approximately once every six weeks.            While he worked for

Aerotech, Blaser received and had access to Aerotech's

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 confidential information from Aerotech's offices in Texas.                                              When

 Blaser left Aerotech, Blaser retained Aerotech's laptop

 containing Aerotech's confidential information, including pricing

 information, confidential customer information, market research,

 and related information. 10                    Plaintiffs have shown that Blaser

 uses this information to target Aerotech's customers, many of

 whom are in Texas.                 These contacts clearly arise from plaintiffs'

 confidential information claims, and Blaser should reasonably

 have anticipated being haled into court in Texas for taking

 confidential information from a Texas company and then using such

 information to target that company's customers, many of whom are

 based in Texas.

         2.       Infringement Claims

         Similarly, the court finds that Blaser has sufficient

 minimum contacts with Texas that relate to plaintiffs'

 infringement claims.                  Plaintiffs have shown that Blaser attended

 the MRO Convention in Texas and met with potential Texas

 customers.           Blaser has routinely and repeatedly sold parts with

 the extra "A" designation to Texas-based airlines, and has

 contacted at least one Texas-based airline in an effort to sell

 parts with the extra "A" designation that are currently provided

 to that airline by Aerotech.                        Blaser met with representatives of

 a Texas company in an effort to sell parts with the extra "A"



         10 As mentioned in Part lIlA. I., while Blaser's declaration denies using or taking any of Aerotech's

 proprietary information, it is clear from his declaration that Blaser is referring only to technical information
 pertaining to Aerotech's parts.

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 designation, and Blaser knew that the company would in turn sell

 the parts to Texas-based Southwest Airlines.            Blaser also sold

 parts with the extra "A" designation to another Texas company and

 has made arrangements to buy back the parts, currently sitting in

 Fort Worth, Texas, from that company in the future.              Taking the

 evidence, and the reasonable inferences therefrom, in a light

 most favorable to plaintiffs, the court finds that Blaser has

 sufficient minimum contacts with Texas that relate to plaintiffs'

 infringement claims.

       3.    Unfair or Unreasonable

       For the same reasons set forth in Part III.A.3, the court

 finds that exercising jurisdiction over Blaser does not offend

 traditional notions of fair play and substantial justice.

 F.    Moyano

       The court concludes that plaintiffs have failed to show that

 Moyano has minimum contacts with Texas so as to support personal

 jurisdiction over him in this action.           The court cannot exercise

 jurisdiction over Moyano solely on the basis that he is a

 director for Alliance and JCM.         See Stuart v. Spademan, 772 F.2d

 1185, 1197 (5th Cir. 1985).         Further, plaintiffs' conspiracy

 allegations are .insufficient to confer jurisdiction over Moyano.

 See Guidry, 188 F.3d at 625.

                                      IV.

                                     Order

       For the reasons discussed above, the court concludes that

defendants' motion should be granted as to JCM and Moyano, and

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 should be denied as to all other defendants.             Therefore,

       The court ORDERS that defendants' motion be, and is hereby,

 granted as to JCM and Moyano, and otherwise be, and is hereby,
 denied.

       The court further ORDERS that all claims and causes of

 action against JCM and Moyano be, and are hereby, dismissed for
 lack of personal jurisdiction.

       SIGNED August 17, 2009.




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